  Case 1:18-cv-05247-ENV-RML Document 26 Filed 06/07/19 Page 1 of 1 PageIDFILED
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                                                                  ROOKLYN OFFICE
                                                            ■X Case No:        I8-CV.5247
    PRENTICE COX,

                                    Plaintiff,

                             -against-

    MARCO POLO TAKE OUT LLC and
    ELIZABETH TRAMONTANO.

                                     Defendants.




            IT IS HEREBY STIPULATED AND AGREED by and among the following parties by and through
    their respective undersigned counsel for Plaintiff PRENTICE COX and the defendants MARCO POl|)
    TAKE ou r LLC and ELIZABETH TRAMONTANO , (collectively, the "Stipulating Parties") that

    pursuant to a confidential settlement agreement and pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules

    of Civil Procedure, the above-captioned action is voluntarily dismissed with prejudice with respect to all

    Defendants.



    Dated: ^*pfu3, 2019

     LAW OFFKH- of DOMENICK NAPOLETANO                    SEKENDIZ L
     By:
             Domcnick Nopolewni                                           S. Sekendiz
             Attorneys for Defendants                             Attorneys for Plaintiff
             351 Court St.                                        45 Broadway Suite 1420
             Brooklyn, NY 1 1231                                  New York, New York 10006
             (718)- 522-1377                                       (212)380-8087




            DERED:

/s/ USDJ ERIC N. VITALIANO
    United Slates District Judge

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